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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION


UNITED STATES OF AMERICA

vs.                                                     Case No.1:08cr39-SPM

JOHN LEE DRIGGERS,

           Defendant.
_____________________________/

               ORDER DIRECTING DEFENDANT TO RESPOND

       On May 15, 2009, the Government filed a Motion in Limine on Entrapment

Defense (doc. 77). To date, Defendant has failed to respond as required under

Northern District of Florida Local Rule 7.1(C)(1) and 56.1. Failure to file a

response “may be sufficient cause to grant the motion.” N.D. Fla. Loc. R.

7.1(C)(1). However, in this case, Defendant shall be given an additional

opportunity to respond. Accordingly, it is ORDERED AND ADJUDGED that

Defendant shall file a written response to the Government’s motion on or before

Monday, June 15, 2009.

       DONE AND ORDERED this eighth day of June, 2009.




                                      s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge
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